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Teri G. Galardi
Schedule of Deposits
March-23

      Date                   Name                 Purpose       Amount

    3/1/2023           Back Door Lounge Note Income Received     855.24
   3/3/2023            Costa Rica       Rental Income          3,570.28
   3/3/2023            Trap             Salary                  4,489.93
   3/3/2023            Masters Club     Distributions          28,637.69
    3/7/2023           Trop             Rental Income           5,769.23
   3/7/2023            us Loan          Note Income Received     819.65
   3/8/2023            Central GA EMC   Power Ranch              215.37
   3/13/2023           Trop             Rental Income          5,769.23
   3/15/2023           Costa Rica       Rental Income          2,012.75
   3/17/2023           Trop             Salary                 4,489.93
   3/20/2023           Trop             Rental Income           5,769.23
   3/20/2023           US Loan          Note Income Received    3,887.40
   3/27/2023           Trop             Rental Income           5,769.23
   3/27/2023           US Loan          Note Income Received     763.49
   3/27/2023           US loan          Note Income Received   10,227.14
   3/27/2023           Masters Club     Distributions          28,637.69
   3/31/2023           Trop             Salary                 4,489.93

                                        TOTAL DEPOSITS         116,173.41
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Teri G. Galardi
Schedule of Disbursements
March 23

     Date         Num                Name                         Purpose          Amount

      3/1/2023    3156      RYLAND ENVIRONMENTAL     Trash Disposal Ranch            156.00
      3/1/2023    Debit     Pet Supermarket          Veterinary Expense Dogs          96.61
      3/2/2023    Debit     Apple.com                Computer and Internet             6.99
      3/2/2023    Debit     Apple.com                Computer and Internet            34.98
      3/2/2023    Debit     Jimmy Johns              Meals and Entertainment           5.94
      3/3/2023    Debit     Apple.com                Computer and Internet            14.99
      3/3/2023    Debit     Whitaker Builders        Maintenance & Repairs Ranch      97.73
      3/6/2023    Debit     Apple.com                Computer and Internet             2.99
      3/6/2023    Debit     Apple.com                Office Supplies                   6.99
      3/6/2023    Debit     Apple.com                Computer and Internet             9.99
      3/7/2.023   3157      City of Flovilla         Utilities - Ranch                 47.57
      3/7/2023    3158      AGSOUTH FARM CREDIT      Note Payments                  3,004.17
      3/7/2023    3159      WELLS FARGO              Note Payments                  3,320.78
      3/7/2023    3160      Business First Bank      Note Payments                 11,574.60
      3/7/2023    Debit     Whitaker Builders        Supplies Ranch                   104.24
      3/8/2023    Debit     Laboratory Corporation   Medical Expenses                 130.97
      3/8/2023    Debit     Shell Service Station'   Meals and Entertainment            5.89
      3/8/2023    Debit     Hasty Enterprises        Sewer Ranch                      173.06
      3/8/2023    Debit     BUC-EE's                 Meals and Entertainment            6.27
      3/9/2023    Debit     Apple.com                Computer and Internet              9.99
      3/9/2023    3161      Central Georgia EMC      Utillties                        206.00
      3/9/2023    3162      Central Georgia EMC      Utilities                         81.00
      3/9/2023    3163      Central Georgia EMC      Utilities                         67.80
      3/9/2023    3164      Central Georgia EMC      Utilities                        105.10
      3/9/2023    3165      Central Georgia EMC      Utilities                        179.56
      3/9/2023    Debit     J & J Preferred Fin.     Insurance Expense Ranch        3,131.39
     3/10/2023    Debit     Apple.com                Computer and Internet             20.98
     3/10/2023    Debit     Walmart                  Groceries                        129.11
     3/10/2023    Debit     Chick-Fil-A              Meals and Entertainment           10.05
     3/10/2023    Debit     Select Intervention      Medical Expenses                  80.00
     3/10/2023    Debit     Whitaker Builders        Maintenance & Repairs Ranch       30.13
     3/11/2023    Debit     SQ Butts Mutts           Donation                          30.00
     3/11/2023    Debit     SQ Butts Mutts           Donation                          20.00
     3/13/2023    3166      Whitaker Builders        Supplies Ranch                 1,077.54
     3/13/2023    3167      BROOKWOOD ANIMAL         Veterinary Expense Dogs           80.00
     3/13/2023    3168      AT&T                     Telephone Internet Ranch       1,323.49
     3/13/2023    3169      AT&T                     Telephone Internet Ranch         106.59
     3/13/2023    3170      AT&T                     Telephone Internet Ranch          78.66
     3/13/2023    3171      AT&T                     Telephone Internet Ranch         262.68
     3/13/2023    3172      GA POWER                 Power Ranch                    1,865.36
     3/13/2023    3173      GA POWER                 Power Ranch                       11.64
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Teri G. Galardi
Schedule of Disbursements
March-23

     Date         Num                  Name                      Purpose            Amount
     3/13/2023    3174      GA POWER               Power Ranch                        260.48
     3/13/2023    3175      GA POWER               Power Ranch                         27.82
     3/13/2023    3176      GA POWER               Power Ranch                         11.42
     3/13/2023    3177      GA POWER               Power Ranch                         87.66
     3/13/2023    Debit     Ingles                 Groceries                           89.17
     3/14/2023    Debit     Whitaker Builders      Maintenance & Repairs Ranch         49.82
     3/14/2023    Debit     Apple.com              Computer and Internet               32.95
     3/15/2023    Debit     MM&B Dentistry         Medical Expenses                   143.00
     3/15/2023    Debit     Hasty Enterprises      Sewer Ranch                        167.86
     3/15/2023    Debit     Apple.com              Computer and Internet                S.99
     3/16/2023    Debit     Apple.com              Computer and Internet                9.99
     3/16/2023    Debit     Chevron                Automobile Expense                  61.51
     3/16/2023    Debit     Mulberry Drugs         Medical Expenses                   540.14
     3/16/2023    Debit     Chick-Fil-A            Meals and Entertainment              1.81
     3/16/2023    Debit     Chick-Fil-A            MeaIs and Entertainment              8.24
     3/17/2023    Debit     Del Taco               Meals and Entertainment             25.71
     3/17/2023    Debit     Apple.com              Computer and Internet                4.99
     3/17/2023    Debit     Target                 Clothing                            97.14
     3/17/2023    Debit     Target                 Clothing                           157.33
     3/20/2023    Debit     Lucy Lu's              Meals and Entertainment             18.73
     3/20/2023    Debit     Chick-Fil-A            Meals and Entertainment             29.80
     3/20/2023    Debit     Ingles                 Groceries                          121.04
     3/20/2023    Debit     BUC-EE's               Meals and Entertainment             62.55
     3/20/2023    Debit     Fair Tickets           Meals and Entertainment             12.50
     3/20/2023    Debit     SQ Cherry Blossom      Meals and Entertainment             20.00
     3/20/2023    Debit     SQ Original Elephant   Meals and Entertainment             30.68
     3/20/2023    Debit     Circle K               Meals and Entertainment             22.73
     3/20/2023    Debit     Circle K               Automobile Expense                  49.23
     3/20/2023    Debit     Pilot                  Automobile Expense                  25.00
     3/21/2023    Debit     Marathon Petroleum     Automobile Expense                  45.00
     3/21/2023    Debit     Whitaker Builders      Maintenance & Repairs Ranch         33.31
     3/22/2023    Debit     World Wide Funds       Donation                            60.00
     3/22/2023    Debit     Whitaker Builders      Maintenance & Repairs Ranch        218.04
     3/22/2023    Debit     Ingles                 Groceries                           87.51
     3/23/2023    Debit     Apple.com              Computer and Internet                4.99
     3/23/2023    3178      AT&T                   Telephone Internet Ranch         1,323.49
     3/23/2023    3179      AT&T                   Telephone Internet Ranch           139.34
     3/27/2023    Debit     Whitaker Builders      Maintenance & Repairs Piedmont      44.46
     3/27/2023    Debit     Chevron                Automobile Expense                 50.85
     3/27/2023    Debit     Ingles                 Groceries                         214.85
     3/27/2023    Debit     Chick-Fil-A            Meals and Entertainment            19.57
     3/27/2023    Debit     Mulberry Drugs         Medical Expenses                     5.01
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Teri G. Galardi
Schedule of Disbursements
March-23

     Date         Num                  Name                  Purpose          Amount
     3/27/2023    Debit     Chick-Fil-A         Meals and Entertainment          17.22
     3/28/2023    Debit     Whitaker Builders   Maintenance & Repairs Ranch      69.52
     3/28/2023    Debit     Hasty Enterprises   Sewer Ranch                     309.56
     3/28/2023    Debit     IC INSTACART        Groceries                       244.95
     3/29/2023    Debit     Apple.com           Computer and Internet             6.99
     3/29/2023    Debit     RACETRAC            Automobile Expense               50.53
     3/29/2023    Debit     RACETRAC            Automobile Expense               26.58
     3/30/2023    Debit     Starbucks           Meals and Entertainment          23.67
     3/30/2023    Debit     Whitaker Builders   Maintenance & Repairs Ranch      42.78
     3/31/2023    Debit     Apple.com           Computer and Internet             4.99

                                                TOTAL DISBURSEMENTS           32,926.33
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2:50 PM                                          Teri G. Galardi DIP 22-50035
04/18/23                                            Reconciliation Detail
                                       BB&T-9815 (9/20/2022), Period Ending 03/31/2023

                  Type              Date         Num            Name              Cir   Amount           Balance
           Beginning Balance                                                                               284,016.61
                 Cleared Transactions
                    Checks and Payments - 94 Items
           Check                02/21/2023      3154    AT&T                      X          -139.34           -139.34
           Check                03/01/2023      3156    RYLAND ENVIRON ...        X          -156.00           -295.34
           Check                03/01/2023      Debi!   Pet Supermarket           X            -96.61          -391.95
           Cheek                03/02/2023      Debit   Apple.com                 X            -34.98          -426.93
           Check                03/02/2023      Debit   Apple.com                 X             -6.99          -433.92
           Check                03/02/2023      Debit   Jimmy Johns               X             •5.94          -439.86
           Check                03/03/2023      Debit   VVhitaker Builders        X            -97.73          -537.59
           Check                03/03/2023      Debit   Apple.com                 X            -14.99          ·552.58
           Check                03/06/2023      Debit   Apple.com                 X             -9.99          -562.57
           Check                03/06/2023      Debit   Apple.com                 X              -6.99         -569.56
           Check                03/06/2023      Debit   Apple.com                 X             -2.99          -572.55
           Check                03/07/2023      3160    Business First Bank       X       -11,574.60       -12,147.15
           Check                03/07/2023      3159    WELLS FARGO               X        ·3,320.78       ·15,467.93
           Check                03/07/2023      3158    AGSOUTH FARM C...         X        -3,004.17       -18,472.10
           Check                03/07/2023      Debi!   VVhitaker Builders        X          -104.24       -18,576.34
           Check                03/07/2023      3157    City of Flovilla          X            -47.57      -18,623.91
           Check                03/08/2023      Debit   Hasty Enterprises         X          -173.06       -18,796.97
           Check                03/08/2023      Debit   laboratory Corporali...   X          -130.97       -18,927.94
           Check                03/08/2023      Debit   BUC-EE's                  X             -6.27      -18,934.21
           Check                03/08/2023      Debit   Shell Service Station'    X             •S.89      -18,940.10
           Check                03/09/2023      Debi!   Johnson & Johnson ...     X        -3, 131.39      -22.071.49
           Check                03/09/2023      3161    Central Georgia EMC       X           206.00       -22.277.49
           Check                03/09/2023      3165    Central Georgia EMC       X          -179.56       -22,457.05
           Check                03/09/2023      3164    Central Georgia EMC       X          -105.10       -22,562.15
           Check                03/09/2023      3162    Central Georgia EMC       X            -81.00       -22,643.15
           Check                03/09/2023      3163    Central Georgia EMC       X            -67.80      -22.710.95
           Check                03/09/2023      Debi!   Apple.com                 X             -9.99      -22.720.94
           Check                03/10/2023      Debit   Walmart                   X          -129.11       -22.850.05
           Check                03/10/2023      Debit   Select Intervention       X            -80.00      -22,930.05
           Check                03/10/2023      Debit   VVhitaker Builders        X            -30.13      -22,960.18
           Check                03/10/2023      Debit   Apple.com                 X            -20.98      ·22.981.16
           Check                03/10/2023      Debit   Chick-FIi-A               X            -10.05      -22.991.21
           Check                03/11/2023      Debit   SQ Butts Mutts            X            -30.00      -23.021.21
           Check                03/11/2023      Debit   SQ Butts Mutts            X            -20.00      -23,041,21
           Check                03/13/2023      3172    GA POWER                  X        -1,865.36       -24,906.57
           Check                03/13/2023      3168    AT&T                      X        -1,323.49       -26,230.06
           Check                03/13/2023      3166    VVhitaker Builders        X        -1.077.54       -27.307.60
           Check                03/13/2023      3171    AT&T                      X          -262.68       -27,570.28
           Check                03/13/2023      3174    GA POWER                  X          -260.48       -27,830.76
           Check                03/13/2023      3169    AT&T                      X          -106.59       -27,937.35
           Check                03/13/2023      Debit   Ingles                    X            -89.17      -28,026.52
           Check                03/1312023      31TT    GA POWER                  X            -87.66      -28.114.18
           Check                03/13/2023      3167    BROOKWOOD ANI ••.         X           -80,00         26,184.16
           Check                03/13/2023      3170    AT&T                      X           -78.66       -28.272.84
           Check                03/13/2023      3175    GA POWER                  X            -27.82      -28,300.68
           Check                03/13/2023      3173    GA POWER                  X           -11.64       -28,312.30
           Check                03/13/2023      3176    GA POVVER                 X           -11.42       -28,323.72
           Check                03/14/2023      Debi!   VVhllaker Builders        X           -49.82       -28,373.54
           Check                03/14/2023      Debit   Apple.com                 X           -32.95       -28,406.49
           Check                03/15/2023      Debit   Hasty Enterprises         X          -167.86       -28.574.35
           Check                03/15/2023      Debit   MM&B Dentistry            X          •143.00       -28,717.35
           Check                03/15/2023      Debit   Apple.com                 X             -5.99      -28.723.34
           Check                03/16/2023      Debit   Mulberry Drugs            X          -540.14       -29,263.48
           Check                03/16/2023      Debi!   Chevron                   X           -61.51       -29,324.99
           Check                03/16/2023      Debit   Apple.corn                X             ·9.99      ·29,334.98
           Check                03/16/2023      Debit   Chick-Fil-A               X             -8.24      -29,343.22
           Check                03/16/2023      Debit   Chick-Fil-A               X             •1.81      -29,345.03
           Check                03/17/2023      Debit   Target                    X          -157.33       -29,502.36
           Check                03/17/2023      Debit   Target                    X            -97.14      -29,599.50
           Check                03/17/2023      Debit   Del Taco                  X           -25.71       -29.625.21
           Check                03/17/2023      DeM     Apple.com                 X             -4.99      -29,630.20
           Check                03/20/2023      Debit   Ingles                    X          -121.04       -29,751.24
           Check                03/20/2023      Debit   BUC-EE's                  X            -62.55      -29.813.79
           Check                03/20/2023      Debit   Circle K                  X            -49.23      -29,863.02
           Check                03/2012023      Debit   SQ Original Elephant      X           -30.68       -29.693.70
           Check                03/20/2023      Debit   Chick-Fil-A               X           -29.80       -29,923.50
           Check                03/20/2023      Debi!   Pilot                     X           -25.00       -29.948.50
                                                                                                                         Page 1
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• TRUIST ONE CHECK1Ncalllll9815                                  (continued)
DATE       DESCRIPTION                                                                                                                                                      AMOUNT($)
02/22       DEBIT CARD PURCHASE-PIN 02-21-23 JAC<SON                                   GA 84 8 7 PILOT# 4560                                                                     46.64
02(23      DEBIT CARD PURCHASE WHI rAKER BUILDERS 02-22 JACKSON                                                                   GA 8487                                       174.88
02/24      DEBIT CARD PURCHASE APPLE.COM/BILL C2-23 866-712-7753 CA 8487                                                                                                           4.99
 2/ 27      DE B IT CARD PU RC HASE· P IN �02 - 2 4- 23 MA �
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02/27      DEBIT CARD              PURCHASE-PI            N 02-26-'3 JACKSON                                                                                            ---       61.47
02/28       DE B IT CARD PURCHASE STARBUCKS STORE 08 02-26 TUCKER                                                                 GA 8487                                        49.64
03/01      DEBIT CARO PURCHASE-PIN 02-28-23 LAKE WORTH FL 8487 PET SUPERMARKET #253                                                                                              96.61
03/02      DEBIT CARD RECURRING PYMT APPLE.COM/BILL 03-01 856-712-7753 CA 8487                                                                                                     6.99
03/02       DE B ITCARD PURCHASE APPLE.COM/BILL 03-01 866-712-7753 CA 8487                                                                                                       34.98
03/02       DEBIT CARD PURCHASE J�\1MY JOHNS# 1149 03-01 FORT LAUDEROA Fl 84 87                                                                                                    5.94
03/03       DEBIT CARD RECURRING PYMT APP E.Cm.llBILL 03-02 CUPERTINO                                                                  CA 8487                                    14.99
03/03       DEBIT CARO PURCH A SE WHITAKER BUILDERS 03--02 JACKSON                                                                GA 8487                                         97.73
03/05      DEBIT CARD RECURRING PYMT APPLE.CON/BILL 03-03 866-712-7753 CA 8487                                                                                                     6.99
03/06       DEBIT CARD RECURRING PYMT APPLE.COt,.1/BILL 03-04 866-712-7753 CA 8487                                                                                                 2.99
03/06       DEBI T CARD RECURRIN G PYMT APPLE.COM/BILL 03--05 866-712-7753 CA 8487                                                                                                 9.99
03/07       DE B IT CARD PURCHASE WHITAK E R BUILDERS 03-06 JACKSON                                                               GA 8487                                       104.24
03/08       DEBIT CARO PURCHASE HASTY ENTERPRISES 03-07 JACKSON                                                                 GA 8487                                         173.06
03/08       DEBIT CARD P URCHASE LABORATORY CORPORA 03-07 800-222-7566 NC 8487                                                                                                  130.97
03/08       OEOIT CARD PURCHASE-PIN 03-07-23 WILDWOOD FL8487 SHELL SE RVICE STATION                                                                                                5.89
03/08       DE B IT CARD PURCHASE.PIN 03-07-23 FORi VALLEY GA 8 487 BUC-EE'S #51                                                                                                   6.27
03/09       DE B IT CARD RECURRING PYMT APPLE.COM/BILL 03-08 408-974-1010 CA 8487                                                                                                  9.99
03/09       J7ECHECK JJPF Payments 0189 JEG FL QUALIFIED PERSO                                                                                                                3,131.39
03/10       DEBIT CARD PURCHASE APPLE.COM/BILL 03-09 866-712-7753 CA 8487                                                                                                        20.98
03/1O       DEBIT CARO PURCHASE.PIN 03-09-23 FORSYTH                                    GA 8487 WAL-MART #-0907                                                                  129.11
03/13       DE B IT CARD PURCHASE SELECT INTERVENTIO 03-10 470-2515300 GA 8487                                                                                                   80.00
03/13       DEBIT CARD PURCHASE WHITAKER BUILDERS 03·10 JACKSON                                                                   GA 8487                                         30.13
03/13       DEBIT CARD PURCHASE CHICK-FIL-A#03772 03-10 GRIFFIN                                                            GA 8487                                                10.05
03/13       DEBIT CARD PURCHASE-PIN 03-10-23 JACKSON                                    GA 8487 INGLES MARKETS #499                                                               89.17
03/13       DEBIT CARD PURCHASE SQ ·suns MUTTS 03-11 JACKSON                                                              GA 8487                                                30. 00
03/13       DEBIT CARD PURCHASE SQ 'BUTTS MUTTS 03-11 Flovilla                                                 GA 8487                                                           20.00
03/14       DEBIT CARD RECURRING PYMT APPLE.COM,131LL 03-13 866-712-7753 CA 8487                                                                                                  32.95
03114       DEBIT CARD PURCHASE WHITAKER BUILDERS 03-13 770-7752086 GA 8467                                                                                                      49.82
03/15       DEBIT CARD RECURRING PYMT APPLE.COMJBILL 03-14 866-712-7753 CA 8487                                                                                                    5.99
03!15       DEBIT CARD PURCHASE HASTY ENTERPRISES 03-14 JACKSON                                                                  GA 8487                                        167.86
03/15       DEBIT CARD PURCHASE MM&B Dentistry 03· 14 Griffin                                            GA 8487                                                                143.00
03/16       OE81TCARDPURCHASECHICK-FIL•A#-03772 03-14GRIFFIN                                                                GA 8487                                                8.24
03116       DEBIT CARD PURCHASE CHICK-FIL-A #03772 03-14 GRIFFIN                                                            GA 84 87                                                1.81
03116       DEBIT CARD PURCHASE MULBERRY DRUGS 03-14 JACKSON                                                               GA 8487                                              540.14
03/16       OEBIT CARDPURCHASECHEVRON004000603-15 ATLANTA                                                                      GA 8487                                            61.51
03116       DEBIT CARD RECURRING PYMT APPLE.COM/31LL 03-16 866-712-7753 CA 84 87                                                                                                   9.99
Total other withdrawals, debits and service charges                                                                                                                        = $7,234.13
Deposits, credits and interest
DATE     DESCRIPTION                                                   AMOUNT($)
02/17     PAYROLL DEC ISIONHRXXI 6 -82 Galardi.Tei                       4,489.93
02/22     Y35U66WCQW AIRBN B PAYMENTS KF2T TERI GALARDI                  2,509.58
02/27     DEPOSIT                                                        4,274.32
02/2.7    DEPOSIT                                                        5,769 23
02/27     DEPOSIT                                                        5,769.23
03/01     DEPOSIT                                                          855.24
03/02    ZXQKL3YHE6 AIRBNB PAYMENTS XUYI TERI GALARDI                    3,57028
03/03     PAYROLL DECISIONHRXXI 6-82 Galardi,Teri                        4 489.93
03/03     DEPOSIT                                                       28,637.69
03/07     DEPOSIT                                                          819.65
                                                        -               - -=..:.; =
03/07     DEPOSIT --- ----------------                   ------------- 5,7 69�.2 3
03(08     DEPOSIT                                                           215.37
03/13     DEPOSIT                                                        5 769.23
03/15     LOF7AG4JOWAIRBNB PAYMENTS YJHS TERI GALARDI                     2,012.75
Total deposits. credits and interest                                 = $74,951.66



                                                                Overdrart Coverage Decision Update
                                                                                                                                                                         ■ PAGE 2 OF 4
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